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PRESS RELEASE


Joint Task Force to Combat Anti-Semitism Statement
Regarding Harvard University
APRIL 14, 2025




  Today, the Joint Task Force to Combat Anti-Semitism released the following
  statement:

  "Harvard’s statement today reinforces the troubling entitlement mindset that is
  endemic in our nation's most prestigious universities and colleges – that
  federal investment does not come with the responsibility to uphold civil rights
  laws.

  The disruption of learning that has plagued campuses in recent years is
  unacceptable. The harassment of Jewish students is intolerable. It is time for
  elite universities to take the problem seriously and commit to meaningful
  change if they wish to continue receiving taxpayer support.

  The Joint Task Force to combat anti-Semitism is announcing a freeze on $2.2
  billion in multi-year grants and $60M in multi-year contract value to Harvard
  University."




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